CONTINGENCY FEE CONTRACT

THIS AGREEMENT, made and entered into this 5 /_ day of October, 2003, by
and between the undersigned, hereinafter called "Clients", and RAYMOND C. GIVENS,
Atlomey at Law of the Givens Law Firm hereinafter called "Attorney."

WITNESSETEL:

WHEREAS, Clients are the present Lessors, being the successors of Andrew
Oenga, under that certain Lease Agreement originally made effective January |, | 989, (as
amended) concerning property in Alaska Nalive Allotment F-14632.

WHEREAS, Clients desire the Attorney (o represent Clients’ interest in
prosecuting Clients! claims and causes of action arising out of said Lease Agreementr -

NOW, THEREFORE, it is mutually agreed and understood as follows:

l. Attomey shall represent Clients in said matter and do all things necessary,
appropriate, or advisable, in regard thereto, whether the same be by representation in
legal proceedings or otherwise, agains( the Lessee or any other person, enlty, department
‘or agency, including govenumenta! entities, departments or agencies.

2. Clients agree to pay attorney for professional services 30% of the "Gross
Recovery" of any and al! funds received in settlement without an action having been filed
in any Court; 33%% of the "Gross Recovery" of any and all funds recovered through
arbitration, or received in settlement afler filing an action in any Court but prior to trial;
35% of the "Gross Recovery" of any and all funds recovered through arbitration,
settlement or judgment once trial begins; or 40% of said sums if said matter is settled or
resolved upon appeal or following post-verdict proceedings, and said sums payable to
attomey for professional services are to be a lien upon any sums reccived in settlement or

payment of any said claim, or upon any judgment recovered. "Gross Recovery" shall
mean all of the following:

a.) The amount received as compensation for the leased premises or under the
Leasc Agreement for the time period from the date of this Agreement back to the
effective date of the Lease, which is January 1, 1989. (Back payments.)

b.) The increase in lease payments under the Lease Agreement or extended
term, from the date hereof and into the future, which are brought about through a
modification, reformation, or cancellation of the Lease Agreement or otherwise.

c.) All compensation and or damages and fees and cosis which the clients
become entitled to, but which the clients would not be entitled to receive under the
existing Lease Agreement as modified.

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d.) The amount received in a sale of the subject leased premises less the

amcunt set forth in the last appraisal of the subject property performed by the Bureau of
Indian Affairs.

€.) Judgment or settlement amounts received from any governmental branch
or agency.

f) The parties understand that an appraisal is now being performed pursuant
tu the requirements of (he Lease Agreement, as modified. In the event the appraised
value is used for increasing payments due commencing November |, 2002, and
thereafter, as opposed to the “’cost adjustment factor” (which has becn historically used

for any increase in rent) the recovery shall be the increase in those rents based upon
appraisal.

3. Attomcy agrees to accept said percentage of the amount received as”
aforesaid as full compensation for professional services; and, if there are no sums
collected or received in the causes of action, attorney ayrees to make no charge for
professional services. Attorney shall, however, be reimbursed by Clients for any and all
fees, costs, and expenses incurred by Attorney for and on behalf of Clients in the
representation of Client's claim, cause or causes of action.

4. As the Clients, you are entitled to be informed on the progress of your
case. The Attomey will provide reasonable prompt responses to your inquiries. In the
event a telephone call or request is nat promptly answered, please assist us with # repeat
call. The file and its progress are open to your inspection at any reasonable time.

5. lt is the intention of Attomey to represent you within the bounds of the
law. Every reasonable effort will be made to handle your case promptly and efficiently
according to the prevailing and legal ethical standards. In handling your case, | perform
basically two functions: (1) Assisting you in the decision making process by giving legal
advice, and (2) Implementing the decision that is made by you, the Clients. The ultimate
decision belongs to you, the Clients. The Alttomey shall have the righl to employ
appraisers, experts, and additional counsel both in Alaska and otherwise to aid him in his

representation. Any additional atlorneys employed by the Atlorney shall be included in
the contingency arrangement above set forth.

6. Clients agree to furnish Attomey with all information relevant to this
matter, to assist and cooperate in negotiations for settlement or in any court action; to
sign, acknowledge, and verify all necessary papers, documents, pleadings or releases in
connection with this matter; to be present at all proceedings, when requested, and to
further produce witnesses; and, to use the Client's best efforts to further the purpose of
this contingent fee arrangement and Client's claims. In the event of any proposed
settlement, Clients agree (hat the affirmative vote and affirmation of more than 75% of
the Clients' interest in the Lease shall be controlling, and the attorney, and all parties
dealing with the attorney, shall have the right to rely on this vote or affirmation,

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7. Clients acknowledge that the Lessee can terminate the Lease Agreement
pursuant to the terms of paragraph 15, and that Clients seeking additional compensation
could result in Lessee threatening or taking such action. Because Chents are aware of
this risk, both with or without Attomey representing them, Clients agree to hold Attorney
harmless from any claim, demand ar damages resulting from Lessee's termination of the
Lease Agreement.

8, Should it appear to Attorney at any time that Client's claim does not justify
further action, or should Attorney decide for any reason that the firm cannot represent

Clients any longer, Attomey may withdraw as Attorney for Clients after natice to Clients. _-
In this event, Attomey shall receive only a pro-rata share of any ultimate recovery for —_—_—

work done to the date of withdrawal for professional services, but shall be entitled to any
and all expenses incurred. Attorney shall turn over to Clients all pertinent papers and data
prepared or collected by Attorney for Clients in this matter after expenses are paid in full.

9. While Attorney can make no guarantees of a successful conclusion to your
case, the Attomey will use his concerted efforts on your behalf. It is also understood that
the Attorney will not settle, nor compromise this matter without your consent as s¢l forth
in Paragraph 6 above.

DATED AND SIGNED this X7. day of October, 2003.

GIVENS LAW FIRM

By;
RAYMOND C. GIVENS
Attorney at Law
CLIENT: r .
} . lsles : aba ee yh
, dt ae Sight a SN
Georgene Shugluk “Wallace Oenga
Soon Qtran Se
“Leroy Ocnga, Sr. 7% “Michael Delia
/ Tony Delia ” Joseph Delia
/ Andrew Detia / Jennie Miller

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DATED AND SIGNED this 3 f _day of October, 2003.

DD LAW FIRM
By; Ce pyetea CE rere

-RAYMOND C. GIVENS
Attomey al Law

CLIENT:

Georgene Shugluk Wallace Ocnga
Leroy Oenga, Sr. we Delia
Tony Delia

Joseph Delia

Andrew Delia ‘Jennie Miller

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in Paragraph 6 above.

DATED AND SIGNED this 3/ day of October, 2003.

GIVENS, LAW FIRM

By: .
RAYMOND C. GIVENS
Attorney at Law

CLIENT:

Georgene Shugluk Wallace Oenga

Leroy Oenga, Sr, Michael Delia

Iie BO

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Tony Delia

Andrew Delia

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Joseph Delia

Jennie Miller

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DATED AND SIGNED this <4/ _ day of October, 2003.

GIVENSLAW FIRM

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y:
RAYMOND C. GIVENS
Attorney at Law

B

CLIENT:

Georgene Shugluk Wallace Ocnga

Leroy Oenga, Sr.

Tony Delia

Andrew Delia Jennie Miller

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in Paragraph 6 above.

DATED AND SIGNED this %G@_ day of August, 2004.

GIVENS LAW FIRM

By: wn
RAYMOND C. GIVENS
Attorney at Law

*¢ CLIENT:

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Trinity Kayla Delia J Tony Delia B Sy ty
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in Paragraph 6 above.

DATED AND SIGNED this_2 4 day of August, 2004.

GIVEN: W FIRM

By:
RAYMOND C. GIVENS
Attorney at Law

CLIENT:

AOS Nuts,
Jennie Maller

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CONTINGENCY FEE CONTRACT
FIRST AMENDMENT

THIS AGREEMENT. made and entered into this Ss day of August, 2011, by and
between the undersigned, hereinafter called "Chents", and RAYMOND C. GIVENS, Attorney at
Law of the Givens Law Firm hereinafter called “Attorney.”

Whereas. Clients previously retained Attomey to represents Clients regarding rents due on the
lease of their Native Allotment F-14632, and agreed to pay for Attorney's services in recovering
increased rents based on a sliding seale contingent basis, based on the point in the litigation
effort recovery was obtained, and

Whereas, as a result of Attomey’s efforts, Clients issues were addressed in several forums and
are at several different stages of litigation, including |) an appeal and cross appeals in the
Federal Circuit of a $4.942 million Judgment of the Court of Federal Claims, 2) several appeals
in the Interior Board of [Indian Appeals (IBIA), and 3) efforts seeking additional present and
future rents thru the Bureau of Indian Affairs (BIA). and

Whereas, as a result of Attomey’s efforts. Clients have been able to recover a $13.5 million
Lump Sum Settlement for past rents and future rents to be paid on an annual basis for up to 52
years. starting at S650,000-yr and increasing annually on a CPl-based cost of living adjustment,
and

Whereas. the contingent fee formulas in the original Contingent Fee Agreement have proven
cumbersome to apply to the Lump Sum Agreement and future rent of the initial and extended
terms because calculations are somewhat complex and the Lump Sum Payment is not broken

down between the same forums and hugation status as in the initial Contingent Fee Agreement,
and

Whereas. the fees to be paid under the 35% and 25% contingencies in the below amendments
are slightly fess than the fee that would be due under the must reasonable applications of the
original Contingent Fee Agreement sliding scale and fonnulas to the Lump Sum Agreement and
future rents increases obtained,

NOW, THEREFORE. it is mutually agreed and understood that the prior Contingent Fee
Agreement be amended as follows:

Paragraph 2 — The prior §2 be deleted in its entirety and a new version be inserted in its place so
as to read:

“2, Clients agree to pay attorney for professional services 35% of the $13.5 million
Lump Sum Settlement Amount paid under the Settlement Agreement resolving Oenga et
al v. Cnited States et al, CFC 206-49 1L and 25% of annual rental on Alaska Native
Allotment F-14632 paid for both the 2012-2013 inclusive period and for the extended

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tern period of 2014-2038 inclusive. Clients shall direct that these payments for
professional services shall be paid directly to Attorney by Lessee BP Exploration
(Alaska), Ine. and-or the United States or any subdivision thereof trom the funds due
Clients at the same time the remaining funds due are paid to Clients. No fees shall be
owed for the second possible extended term from 2039-2063 inclusive.”

Paragraph 3 ~ A new sentence be added at the end of the prior §3 so that the entire paragraph
read:

"3. Attorney agrees to accept said percentage of the amount received as aforesaid as
full compensation tor professional services; and. if there are no sums collected or
received in the causes of action, attomey agrees to make no charge for professional
services. Attorney shall, however, be reimbursed by Clients for any and all fees, costs,
and expenses incurred by Attorney for and on behalf of Clients in the representation of
Client's claim, cause or causes of action. Clients shall direct that this reimbursement of
costs shall be made directly to Attorney by Lessee BP Exploration (Alaska), Inc. and/or
the United States or any subdivision thereof from the funds due Clients.”

DATED AND SIGNED this 5” day of August, 2011.

GIVENS “LZ.
By: negate LO suey

YALOND C. GIVENS
Attorney at Law

CLIENTS:
Georgene Shugluk Wallace Oenga Yo

Aare Bens Lon Za LE

Leroy Oehga, Sr. Tony Delia
Qervranee 27) Le Eli 2e

Jefinie Miller

Cw ____—..

Tony Delia as Guardian of Trinity Delia

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Fee/Cost Reduction Agreement

THIS AGREEMENT, made and entered into this 24" day of May, 2012, by and between the
undersigned, hereinafter called "Clients", and RAYMOND C. GIVENS, Attorney at Law of the
Givens Law Firm hereinafter called "Attorney."

Whereas, Clients and attorney entered into a Contingency Fee Contract to pursuc Ocengas’
claims in 2003 and amended that Contract in 2011, by which Clients retained Attorney to
represent their interests regarding the lease of their Native Allotment F-14632, and agreed to pay
for Attorney’s services by way of 1) a 30% - 40% sliding scale contingent fee on the Gross
Recovery, later reduced to a 35% fee on the Gross Recovery, which was a slight reduction in
fees, 2) initially a 30% fee on increases in future rents through 2038, later reduced to a 25% fee
on all future rents, which was a slight reduction in fees, and 3) reimbursement of all costs
advanced, and

Whereas, as a result of Attorney’s efforts, Clients issues were being addressed in several forums
at different stages of litigation or administrative consideration when a settlement of all claims
was agrecd to, and

Whereas, as a result of Attomey’s efforts, Clients have been able to recover 1) a $13.5 million
Lump Sum Settlement, and 2) a large increase in future rents to be paid on an annual basis for up
to 50 years, starting at $650,000/yr and increasing annually on a CPI-based cost of living
adjustment, and

Whereas, the contingent fec formula under the Contingent Fee Agreement, as Amended
provided that the contingent fee was to be calculated on the Gross Recovery, with the costs
advanced being reimbursed from the client’s net recovery after payment of the contingent fee
[Fee First Approach], and

Whereas, the Fee First Approach has been questioned by the Bureau of Indian Affairs,
suggesting that the costs should be reimbursed before the fee is paid [Cost First Approach],
which is more advantageous to Clients, and

Whereas, Attomey has sought, received and provided to Clients a written legal analysis from an
expert in the field affirming that the Fee First Approach is appropriate, and

Whereas, even though the Fee First Approach is appropriate, Attorney and Clients have agreed
to distribute the $13.5 million Lump Sum Settlement pursuant to the Cost First Approach with
reimbursement of $444,463 costs and $4,569,437 being all Clients’ 35% fee on the lump sum
settlement, to be allocated among individual clients based on their percent interest in Native
Allotment F-14632, and

Whereas, this fee distribution agreement does not affect the payment due Attomey from some

individual Clients of fees and costs currently due on rent increases obtained in prior years which
were previously deferred, and

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Whereas, this fee distribution agreement does not affect the 25% contingent fec duc Attorney
from Clients on future rents due on Native Allotment F-14632 through 2038 under the
Contingency Fee Contract as amended, with it being appropriate to reaffirm that the 25%
contingency fee is due on future rents through 2038 as provided for in the Contingency Fee
Contract, as amended,

NOW, THEREFORE, it is mutually agreed and understood that, despite the provisions of the
Contingency Fee Contract as amended to the contrary, the reimbursement of costs and payment
of the contingent attorney fee due on the $13,500,000 Lump Sum Settlement will be as follows:

Gross Lump Sum Settlement $13,500,000
Less Costs Reimbursed - 444,463
Less Contingency Attorney Fee - 4,569,437
Clients’ Share of Settlement 38,486,100

FURTHER, it is mutually agreed and understood that the contingency fee due on future rents,
which was specifically provided for in both the original Contingency Fee Contract and the First
Amendment thereof, remains due each year as a 25% fee of the total rent received each year due
as compensation for the attorney’s work in securing the increased rent amount.

DATED AND SIGNED this 24" day of May, 2012.

GIVENS LAW EIRM

By:
RAYMOND C. GIVENS
Attorney at Law

CLIENTS:
Yrgns Shucha  _\dalllece Gene
Georgend Shugluk f Wallace Oenga °

Wallace Oenga, Personal Repreééntative Tony Delia
For the Estate of Leroy Oenga, Sr.

OCADDL NA

Jennié Miller

Cod alm
Tony Delia, Guardian of

Trinity Delia, a minor

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